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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

KHAMBAO MONTGOMERY MULDOON             §
                                       §
VS.                                    §   CIVIL ACTION NO. 4:15-CV-114-Y
                                       §
STATE FARM LLOYDS                      §

      SECOND ORDER REQUIRING FILING OF AGREED MOTION TO DISMISS

       On June 22, 2015, this Court entered its Order to File Agreed

Motion to Dismissal (doc. 11) that stated in part:

            Accordingly, the parties must file an agreed
            motion to dismiss or stipulation of dismissal
            due to settlement no later than August 18, 2015.

In response, the parties filed a joint motion for extension of time

to file dismissal documents (doc. 12); however, this motion was

unfiled for failure to adhere to the undersigned’s judge specific

requirements.1

       Accordingly, the parties shall file their agreed motion to

dismiss or a stipulation of dismissal due to settlement no later than

November 30, 2015, or show cause in writing as to why they have not

complied.

       SIGNED November 2, 2015.



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                                           TERRY R. MEANS
                                           UNITED STATES DISTRICT JUDGE




       1
       See http://www.txnd.uscourts.gov/judge/senior-district-judge-terry-means.
